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                                      MINUTES



 CASE NUMBER:             CR NO. 17-00101LEK
 CASE NAME:               USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


       JUDGE:      Leslie E. Kobayashi           REPORTER:

       DATE:       01/23/2019                    TIME:


COURT ACTION: EO: ORDER DENYING WRITTEN REQUEST FOR CAMERA
IN THE COURTROOM

        Stephen Paschke ("Mr. Paschke"), who represents that he is the director for On
Second Thought TV (O.S.T.), has filed a written request to film court proceedings in the
instant criminal action. Electronic media coverage of criminal proceedings in federal
courts is expressly prohibited under the Federal Rules of Criminal Procedure. Fed. R. Cr.
P. 35. While the Ninth Circuit Judicial Counsel, in cooperation with the Judicial
Conference, has authorized three federal court districts in the Ninth Circuit to participate
in a pilot program permitting cameras in the courtroom, the District of Hawai'i is not one
of these three designated districts.

       Therefore, Mr. Paschke's request to film the criminal proceedings before this Court
is hereby DENIED.

Submitted by: Warren N. Nakamura, Courtroom Manager
